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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,     )               CASE NO. 4:09CR3103
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
KELLEY LYNNE EWINGS,                         )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion to continue the deadline

within which to file a notice of appeal by 30 days (Filing No. 88). The Court concludes that

the Defendant has shown good cause for a continuance. Fed. R. App. P. 4(b)(4).

However, the continuance will be granted for 14 days.

       IT IS ORDERED:

       1.     The Defendant’s motion to continue the deadline within which to file a notice

of appeal (Filing No. 88) is granted insofar as the continuance will be granted for an

additional 14 days plus 3 days for mailing; and

       2.     The Defendant must file any notice of appeal on or before May 13, 2010.

       DATED this 26th day of April, 2010.

                                                  BY THE COURT:

                                                  S/Laurie Smith Camp
                                                  United States District Judge
